         Case 4:18-cv-00070-CDL Document 397 Filed 09/29/23 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION


 WILHEN HILL BARRIENTOS, et al.,

 Plaintiffs,
                                                       Civil Action No. 4:18-cv-00070-CDL
 v.

 CORECIVIC, INC.,

 Defendant.



                                  NOTICE OF SETTLEMENT


        Plaintiffs Wilhen Hill Barrientos, Gonzalo Bermudez Gutiérrez, and Keysler Ramón

Urbina Rojas and Defendant CoreCivic, Inc., through their respective counsel of record, notify the

Court that the Parties have reached a settlement in principle that fully resolves the above-captioned

matter. The Parties agree that the settlement currently obviates the need for the Court to proceed

with preparation for trial scheduled to begin October 16, 2023. While the Parties are still working

through the settlement process, they expect to finalize a settlement agreement by October 12, 2023,

and to file an appropriate dismissal by November 2, 2023. In the interest of judicial economy, the

Parties request that the Court hold this matter in abeyance until such time as they are able to

complete the settlement process and file the appropriate dismissal documents.




                                                 1
        Case 4:18-cv-00070-CDL Document 397 Filed 09/29/23 Page 2 of 3




Respectfully submitted,                          September 29, 2023

 s/ Meredith B. Stewart                        s/ Jacob B. Lee
 Meredith B. Stewart (pro hac vice)            Daniel P. Struck (pro hac vice)
    Lead Counsel                                   Lead Counsel
 SOUTHERN POVERTY LAW CENTER                   Rachel Love (pro hac vice)
 201 Saint Charles Avenue, Suite 2000          Nicholas D. Acedo (pro hac vice)
 New Orleans, LA 70170                         Ashlee B. Hesman (pro hac vice)
 Phone: (504) 486-8982                         Jacob B. Lee (pro hac vice)
 Fax: (504) 486-8947                           Eden G. Cohen (pro hac vice)
 meredith.stewart@splcenter.org                STRUCK LOVE BOJANOWSKI & ACEDO, PLC
                                               3100 West Ray Road, Suite 300
 Rebecca M. Cassler (GA Bar No. 487886)        Chandler, Arizona 85226
 SOUTHERN POVERTY LAW CENTER                   Phone: (480) 420-1600
 1101 17th Street, NW, Ste. 705                Fax: (480) 420-1695
 Washington, DC 20036                          dstruck@strucklove.com
 Telephone: (404) 521-6700                     rlove@strucklove.com
 Facsimile: (877) 349-7039                     nacedo@strucklove.com
 rebecca.cassler@splcenter.org                 ahesman@strucklove.com
                                               jlee@strucklove.com
 Sarah M. Rich (GA Bar No. 281985)             ecohen@strucklove.com
 Sharada Jambulapati (GA Bar No. 413477)
 SOUTHERN POVERTY LAW CENTER                   Jacob D. Massee (GA Bar No. 551890)
 150 East Ponce de Leon Avenue                 Amelia Stevens (GA Bar No. 758771)
 Suite 340                                     OLIVER MANER LLP
 Decatur, GA 30030                             PO Box 10186
 Telephone: (404) 521-6700                     Savannah, Georgia 31412
 Facsimile: (877) 349-7039                     Phone: (912) 236-3311
 sarah.rich@splcenter.org                      Fax: (912) 236-8725
 sharada.jambulapati@splcenter.org             jmassee@olivermaner.com
                                               astevens@olivermaner.com
 Alan B. Howard (pro hac vice)
 Emily B. Cooper (pro hac vice)                Attorneys for Defendant CoreCivic, Inc.
 PERKINS COIE LLP
 1155 Avenue of the Americas
 22nd Floor
 New York, NY 10036-2711
 Phone: (212) 262-6900
 Fax: (212) 977-1649
 ahoward@perkinscoie.com
 ecooper@perkinscoie.com

 Jessica Tseng Hasen (pro hac vice)
 Christian W. Marcelo (pro hac vice)
 PERKINS COIE LLP

                                           2
        Case 4:18-cv-00070-CDL Document 397 Filed 09/29/23 Page 3 of 3




1201 Third Avenue, Suite 4900
Seattle, WA 98101
Phone: (206) 359-3293
Fax: (206) 359-9000
jhasen@perkinscoie.com
cmarcelo@perkinscoie.com

Jessica L. Everett-Garcia (pro hac vice)
John H. Gray (pro hac vice)
PERKINS COIE LLP
2901 N. Central Avenue, Suite 2000
Phoenix, AZ 85012-2788
Telephone: (602) 351-8000
Fax: (602) 648-7000
jeverettgarcia@perkinscoie.com
jhgray@perkinscoie.com

Azadeh Shahshahani (GA Bar No. 509008)
Priyanka Bhatt (GA Bar No. 307315)
PROJECT SOUTH
9 Gammon Avenue SE
Atlanta, GA 30315
Phone: (404) 622-0602
Fax: (404) 622-4137
azadeh@projectsouth.org
priyanka@projectsouth.org

Gwyn P. Newsom (GA Bar No. 541450)
GWYN NEWSOM LAW, LLC
P.O. Box 629
Columbus, GA
Telephone: (706) 324-4900
gwyn@gnewsomlaw.com

Attorneys for Plaintiffs




                                           3
